81 F.3d 150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stephen Louis MOORE, Plaintiff-Appellant,v.Gary T. DIXON;  J.B. French;  Robey Lee;  Ken Harris;  R.D.Britton;  Bennie Mack;  Carlton Joyner;  FranklinE. Freeman, Jr.;  Lynn Phillips,Defendants-Appellees.
    No. 95-7370.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 4, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   W. Earl Britt, District Judge.  (CA-93-644-5-CT-BR)
      Stephen Louis Moore, Appellant Pro Se.  Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Moore v. Dixon, No. CA-93-644-5-CT-BR (E.D.N.C. Aug. 23, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    